905 F.2d 1533Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Buster Alexander YANCEY, Jr., Defendant-Appellant.
    No. 89-6039.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 16, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Frank W. Bullock, Jr., District Judge.  (CR No. 86-39-G;  CA-89-250-G)
      Buster Alexander Yancey, Jr., appellant pro se.
      Robert Holt Edmunds, Jr., United States Attorney, Greensboro, N.C., for appellee.
      M.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Buster Alexander Yancey, Jr. appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Yancey, CR-86-39-G;  CA-89-250-G (M.D.N.C. Nov. 28, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    